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 8                         IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   1:06-CR-418 LJO
                                                     )
12                          Plaintiff,               )   ORDER ON GOVERNMENT’S
                                                     )   MOTION TO DISMISS PRETRIAL SERVICES
13                                                   )   VIOLATION PETITION
                             v.                      )
14                                                   )
     DAVID GEORGE SOLKAH,                            )
15                                                   )
                            Defendant.               )
16                                                   )
                                                     )
17
                                                   ORDER
18
            IT IS HEREBY ORDERED that the Pretrial Services Violation Petition as to David Solkah
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     be dismissed and the hearing on such petition, currently set for July 6, 2007, shall be vacated.
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     Dated: July 5, 2007                                     /s/ Dennis L. Beck
22                                                           Honorable Dennis L. Beck
                                                             U.S. Magistrate Judge
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